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WO 442 USCV Pint) AtTest warrant

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America
. Case: 1:21-mj-00039

Assigned to: Judge Robin M. Meriweather
Assigned Date: 1/12/2021

Description: COMPLAINT W/ARREST WARRANT

ROBERT KEITH PACKER

Defendant

ARREST WARRANT

lo: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
name of person to be arrested) Robert Keith Packer

Vho is accused of an offense or violation based on the following document filed with the court:
7 Indictment 1 Superseding Indictment 7 Information J Superseding Information H Complaint
7 Probation Violation Petition 1 Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. 1752 (a)(1)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority

40 U.S.C. 5104(e)(2)- Violent Entry and Disorderly Conduct on Capitol Grounds

Robin M. Meriweather
ee a 2021.01.12 16:47:13

 

 

 

Yate: 01/12/2021 -05'00'
Issuing officer's signature
ity and state: Washington, DC HON. ROBIN M. MERIWEATHER, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) \~ 1d- Qed | . and the person was arrested on (date) /- 13 ola |

AU (city and state) Wwe Mes / VA
Date: \- \3- HORA EBT Artest
~ Arresting officer's signature
fon. wa)

Printed name and title

 

 
